         Case 1:25-cv-02326-VMS                     Document 3         Filed 04/28/25     Page 1 of 1 PageID #: 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District of New York

                Diana Cabrales De Bedoya,                          )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                v.                                 )       Civil Action No.   25-cv-2326
                                                                   )
                       Marco Hotel LLC,                            )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Marco Hotel LLC
                                   13707 Northern Blvd,
                                   Flushing, NY 11354




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received i t ) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or ( 3 ) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                           Abdul Hassan Law Group, PLLC
                                           215-28 Hillside Avenue
                                           Queens Village, NY 11427




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B. MAHONEY
                                                                              CLERK OF COURT


Date:      4/28/2025
                                                                                        Signature o f Clerk or Deputy Clerk
